14 F.3d 49
    Tulam (Daud Obika), Kafele (Ajamu U.), Wahaki (Hatari N.),Ukawabutu (Rumiejah), a/k/a Curry (Rudolph),Saxton (Toyce), Fisher (L. Royal), Fritz(David), Singletary (Leon)v.Beyer (Howard L.), Ballai (Elaine W.), Turner (Anthony C.),Morton (Willis), Barbo (James F.)
    NO. 93-5146
    United States Court of Appeals,Third Circuit.
    Nov 10, 1993
    
      Appeal From:  D.N.J.,
      Brown, J.
    
    
      1
      AFFIRMED.
    
    